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                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                      EUGENE DIVISION


UNITED STATES OF AMERICA                              6:18-CR-00492-MC

               v.                                     PROTECTIVE ORDER

JOHN.WIDENER JORDAN and MICHAEL
JAMES FRIESEN,

              Defendants.

       Upon motion of the United States, the Court being advised as to the nature of this case,

and there being no objection by the defense, it is hereby:

ORDERED that pursuant to Rule 16(d)(l), Federal Rules of Criminal Procedure, with respect to

any audio or video recordings involving an undercover agent:

        (1) defense counsel shall not copy or disseminate those discovery materials to anyone

except members of the defense team and those persons employed by defense counsel who are

necessary to assist counsel in preparation for trial or other proceedings; and

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         (2) that defendants shall not be allowed to have a copy of those discovery materials and

shall not photograph or otherwise copy or disseminate any portions of those discovery materials.

         Should defense counsel believe it necessary for there to be an exception to the protective

order or question the order's application to a specific item in discovery, the government will meet

and confer with defense counsel and the parties will then seek guidance from this Court, if

necessary. The parties will advise the Court by letter of any exceptions made to the protective

order.

         DATEDthis       lo    day of November 2018.




                                                      MICHAEL J. MCSHANE
                                                      United States District Judge

Presented by:

BILLY J. WILLIAMS
United States Attorney

s/ Nathan J. Lichvarcik
NATHAN J. LICHVARCIK
Assistant United States Attorney




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